      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 1 of 37




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


 John Ruch,

                       Plaintiff,      Case No. 1:15-cv-03296

 v.                                    Michael L. Brown
                                       United States District Judge
 Sergeant Michelle McKenzie,
 individually,

                       Defendant.

 ________________________________/

                        OPINION AND ORDER

      Plaintiff John Ruch sued Atlanta Police Sergeant Michelle

McKenzie for violating his constitutional rights and for false arrest after

she arrested him for disorderly conduct during a protest in downtown

Atlanta. For the reasons below, the Court grants Defendant McKenzie’s

Motion for Summary Judgment (Dkt. 122).

I.    Factual Background

      On November 24, 2014, a crowd gathered in downtown Atlanta to

march and protest the police shooting of a young man in Ferguson,

Missouri.   Plaintiff John Ruch, a freelance reporter, traveled to the
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 2 of 37




downtown area “to find breaking news in Atlanta about spontaneous

protests that were happening nationwide, relating to the Ferguson,

Missouri police controversy.”       (Dkt. 124-2 at 42:3–6.)         Plaintiff

photographed protest activity, police officer response to the same, and

posted those photos to Twitter from 8:48 P.M. until 11:04 P.M. without

interference from police. (Dkt. 122-1 at ¶ 2.)

     Shortly before midnight, a crowd of protesters moved toward the

Atlanta Police Department’s (“APD”) Zone 5 Precinct downtown. (Id. at

¶ 3.) Some protestors began striking the Precinct windows and a large

fight broke out. (Id. at ¶ 4.) Officers began arresting people. (Id.) Major

James Whitmire, who was outside the Precinct, radioed other APD

officers, including Defendant, for help stopping the fight. (Id. at ¶ 5; Dkt.

124-7 at 36:1–4.) He also used a bullhorn to order the protestors to clear

the area around the fight and to leave the vicinity.1 (Dkt. 122-1 at ¶ 6.)

     Defendant was on the same city block as the fight. (Dkt. 124-7 at

38:2–3; 38:9.) She saw the group of protestors fighting on the sidewalk



1Plaintiff “denies” that police gave the order to disperse but cites only his
deposition testimony that he does not “recall any officers issuing orders.”
(Dkt. 129-3 at ¶ 8.) As explained below, whether Plaintiff recalls the
instruction is irrelevant.


                                     2
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 3 of 37




outside of the Precinct.    (Id. at 36:19–21.)   She also saw protesters

crowding around the police officers who were arresting the individuals

involved in the fight. (Id. at 42:1–2.) She saw and heard Major Whitmire

tell everyone in the area to disperse and clear away from the area around

the fight. (Id. at 31:22–32:3.) Defendant and other officers tried to secure

the area where the officers were making arrests to ensure none of the

protestors attacked the officers while making those arrests. (Dkts. 122

at 15; 124-6 at 47:2–8.) Apparently, that “happens a lot” during protests.

(Dkt. 124-6 at 47:2–8.) Defendant faced the street with her back to the

arresting officers. (Dkt. 124-7 at 40:4–5.)

     Plaintiff walked directly toward the area that APD was trying to

secure. (Dkts. 122-1 at ¶ 7; 124-7 at 34:21–23.) Defendant McKenzie

spotted him.2 (Dkt. 124-7 at 42:21–22.) Defendant perceived Plaintiff’s

presence in the restricted area as hazardous to the arresting officers’

safety and an obstacle to the arresting officers’ access to the booking



2Plaintiff “denies” this. He has no basis to deny what another individual
observed or heard, particularly when he admittedly did not notice
Defendant until the moment before she arrested him. (Dkt. 124-2 at
142:20.)    None of the evidence Plaintiff cites refutes Defendant
McKenzie’s assertion that she saw him. The Court finds this fact
admitted under Local Rule 56.1.


                                     3
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 4 of 37




teams inside the Precinct.3 (Id. at 78:6.) She stepped directly in front of

Plaintiff’s path. (Dkt. 122, Ex. L at minute mark 3:59.) She intercepted

Plaintiff, preventing him from moving any closer toward the group of

officers arresting the protestors who had been involved in the fight.

Defendant grabbed Plaintiff on his left wrist or forearm area with some

force, causing him to take a step backward. (Dkt. 124-2 at 151:6–7.)

     Major Whitmire also saw Plaintiff approaching the area where

officers were making arrests. (Dkt. 122, Ex. L at minute mark 3:58.) At

about the time Plaintiff withdrew from Defendant’s initial grasp, Major

Whitmire tapped Plaintiff on the shoulder and said, “Take this one.”4

(Dkts. 122-1 at ¶ 8; 124-2 at 151:13–16.) Defendant told Plaintiff that he

was under arrest and to put his phone away. (Dkt. 124-2 at 152:2–5.)

She ordered him to lie on the ground and put his hands behind his back.




3 By asserting that “There was no restricted area, and no order to exit
such area,” Plaintiff tries to “deny” this fact. (Dkt. 129-2 at ¶ 18.) He
cites no supporting evidence. (See id. (citing his own deposition
testimony that he did not recall anyone issuing orders, the same evidence
used to “deny” the prior two material facts).) The Court finds this fact
admitted under Local Rule 56.1.
4 Plaintiff disputes whether Major Whitmire first gave Defendant the

order to arrest him or if she acted on her own. (Dkt. 129-2 at ¶ 8.) The
sequence of these events is not determinative of qualified immunity.

                                    4
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 5 of 37




(Dkt. 129-2 at ¶ 10.) Plaintiff complied without argument. (Dkt. 124-2

at 152:7–8.)

     In his complaint, Plaintiff claims he was standing still on the

sidewalk and “remained there” prior to his arrest. (Dkt. 32 at ¶ 16.) He

says he stayed on the sidewalk and merely “shifted his body slightly” to

get a better camera angle just before his arrest. (Id. at ¶ 20.) But video

shot by a drone that night shows otherwise. (Dkt. 122, Ex. L.) The video

footage shows Plaintiff step off the sidewalk in one location, walk around

a group of people watching and filming the fight, and step back onto the

sidewalk — directly into the area where Defendant stood protecting the

officers making arrests. (Id. at minute mark 3:58.) Contrary to Plaintiff’s

allegations, he was not standing still at the time of his arrest. He was

moving toward the area Defendant was trying to secure. Plaintiff also

claims she arrested him while he was shooting video of the police action.

(Dkt. 32 at ¶¶ 16–17, 20, 24.) But other people were taking photos or

shooting video, and police did not arrest them. (Dkt. 122, Ex. L at minute

mark 3:33–3:50.)

     Defendant turned Plaintiff over to APD’s booking team. (Dkt. 122-

1 at ¶ 11.) The arrest citation states that Plaintiff “refused to clear the



                                    5
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 6 of 37




area when officers were in-gaged [sic] in a fight. The accused remained

in the path of officer [sic] and refused to comply, blocking officers from

each other.” (Dkt. 122-2, Ex. A.) Police took him to the Atlanta Detention

Center but released him before placing him in a cell. (Dkt. 122-1 at ¶ 12.)

The police later dropped all charges. (Id. at ¶ 13.)

     A.    Procedural History

     Plaintiff filed his initial complaint alleging violations of the First,

Fourth, and Fourteenth Amendments of the United States Constitution,

41 U.S.C. § 2000aa, and Georgia state law. (Dkt. 1.) He asserted these

claims against the City of Atlanta and various members of APD. (Id.) He

then filed an amended complaint, again naming the City of Atlanta and

several police officers. (Dkt. 32.) After the Court dismissed some charges

and other procedural steps, the parties jointly agreed to dismiss with

prejudice all claims against the City of Atlanta and all individual

defendants except Defendant Sergeant Michelle McKenzie. (Dkt. 121).

She became to sole defendant. In Count One, Plaintiff alleges Defendant

McKenzie violated his Fourth Amendment rights when she arrested him

without justification for simply trying to photograph the police. (Dkt. 32

at ¶¶ 86–90.) In Count Two, he alleges Defendant McKenzie violated his



                                     6
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 7 of 37




First Amendment right to constitutionally protected free speech when

she arrested him while he was filming the police. (Id. at ¶¶ 91–94.) He

filed Counts One and Two under 42 U.S.C. § 1983. In Count Four,5 he

asserted a claim under Georgia law for unlawful detention (GA. CODE

ANN. § 51-2-70),6 assault and battery (§ 51-1-13, -14), and malicious

prosecution (§ 51-7-44). (Id. at ¶¶ 98–103.)

     Defendant McKenzie moved for summary judgment on all counts.

(Dkt. 122 at 10.) She claims she is entitled to qualified immunity on

Plaintiff’s Fourth and First Amendment claims and official immunity on

his Georgia state-law claims.7 (Id. at 10, 20.)



5 The Court previously dismissed Count III. (Dkt. 40 at 31.)
6  Plaintiff’s amended complaint alleges a claim under § 51-2-70 for
unlawful detention. (Dkt. 32 at ¶ 99.) Unlawful detention is not a claim
under Georgia law and § 51-2-70 does not exist within the Georgia Code.
Out of an abundance of caution, the Court assumes that Plaintiff meant
to cite § 51-7-20, the code provision for False Imprisonment under
Georgia law. This potential oversight, however, does not alter the Court’s
official immunity analysis below.
7 Plaintiff violated Local Rule 56.1B, which requires that “[e]ach material

fact must be numbered separately and supported by a citation to evidence
proving such fact.” See LR 56.1B(2)(b), NDGa (requiring the same from
respondents to motions for summary judgment). Some of Plaintiff’s
“facts” contain seven or eight individual facts. He also fails to explain
why certain facts are material, provides argumentative responses, and
cites deposition testimony that is irrelevant to the point at issue. (See,
e.g., Dkt. 129-2 at ¶ 6.)


                                     7
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 8 of 37




II.   Legal Standard

      Rule 56 of the Federal Rules of Civil Procedure provides that a court

“shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” FED. R. CIV. P. 56(a).

      A factual dispute is genuine if the evidence would allow a

reasonable jury to find for the nonmoving party. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” if it is “a legal

element of the claim under the applicable substantive law which might

affect the outcome of the case.” Allen v. Tyson Foods, Inc., 121 F.3d 642,

646 (11th Cir. 1997).

      The party moving for summary judgment bears the initial burden

of showing a court, by reference to materials in the record, that there is




      The Court is not required to “investigate the record in search of an
unidentified genuine issue of material fact to support a claim or defense.”
See Reese v. Hebert, 527 F.3d 1253, 1268 (11th Cir. 2008) (quoting Libel
v. Adventure Lands of Am., 482 F.3d 1028, 1032 (8th Cir. 2007)). That is
Plaintiff’s job. Even so, the Court “conduct[ed] an assiduous review of
the record” before concluding Defendant is entitled to summary
judgment. Id. at 1271 (quoting Holtz v. Rockefeller & Co., 258 F.3d 62,
73 (2d Cir. 2001)).



                                     8
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 9 of 37




no genuine dispute as to any material fact that should be decided at trial.

Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260 (11th Cir. 2004)

(citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). A moving party

meets this burden merely by “ ‘showing’—that is, pointing out to the

district court—that there is an absence of evidence to support the

nonmoving party’s case.” Celotex, 477 U.S. at 325. The movant, however,

need not negate the other party’s claim. Id. at 323. In determining

whether the moving party has met this burden, a court must view the

evidence and all factual inferences in the light most favorable to the party

opposing the motion. Johnson v. Clifton, 74 F.3d 1087, 1090 (11th Cir.

1996).

     Once the movant has adequately supported its motion, the

nonmoving party then has the burden of showing that summary

judgment is improper by coming forward with specific facts showing a

genuine dispute. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 587 (1986). Ultimately, there is no “genuine [dispute] for trial”

when the record as a whole could not lead a rational trier of fact to find

for the nonmoving party. Id. But “the mere existence of some alleged

factual dispute between the parties will not defeat an otherwise properly



                                     9
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 10 of 37




supported motion for summary judgment; the requirement is that there

be no genuine issue of material fact.” Anderson, 477 U.S. at 247–48. The

court, however, resolves all reasonable doubts in the favor of the non-

movant. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993).

     As mentioned above, a drone recorded much of the action relevant

to Plaintiff’s claims. Under Eleventh Circuit precedent, “in cases where

a video in evidence obviously contradicts the nonmovant’s version of the

facts, [a court] accept[s] the video’s depiction instead of the nonmovant’s

account and view[s] the facts in the light depicted by the videotape.”

Shaw v. City of Selma, 884 F.3d 1093, 1098 (2018) (citations omitted)

(alterations accepted).   Neither party has disputed the accuracy or

authenticity of the video nor suggested that it is untrustworthy. As a

result, the Court “accept[s] facts clearly depicted in a video recording

even if there would otherwise be a genuine issue about the existence of

those facts.” Id. at 1097 n.1.

III. Discussion

     A.    Federal Claims & Qualified Immunity

     “Qualified immunity offers complete protection for government

officials sued in their individual capacities if their conduct does not



                                    10
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 11 of 37




violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Vinyard v. Wilson, 311 F.3d 1340,

1346 (11th Cir. 2002) (internal quotation marks omitted). So “[q]ualified

immunity gives government officials breathing room to make reasonable

but mistaken judgments about open legal questions.” Ashcroft v. al-Kidd,

563 U.S. 731, 743 (2011). Qualified immunity allows officials to “carry

out their discretionary duties without the fear of personal liability or

harassing litigation.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir.

2002). When properly applied, qualified immunity “protects all but the

plainly incompetent or those who knowingly violate the law.” al-Kidd,

563 U.S. at 743 (internal quotation marks omitted).

     Qualified immunity may attach only when the officer is “acting

within the scope of his discretionary authority when the allegedly

wrongful acts occurred.” Grider v. City of Auburn, 618 F.3d 1240, 1254

n.19 (11th Cir. 2010).   A public official acts within the scope of his

discretionary authority where the acts complained of were “undertaken

pursuant to the performance of his duties and within the scope of his

authority.” See Rich v. Dollar, 841 F.2d 1558, 1564 (11th Cir. 1988).

“Once the defendant establishes that he was acting within his



                                   11
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 12 of 37




discretionary authority, the burden shifts to the plaintiff to show that

qualified immunity is not appropriate.” Lee, 284 F.3d at 1194. The

parties agree Defendant acted within the scope of her discretionary

authority when arresting Plaintiff. (Dkts. 122 at 11; 130 at 5 n.3.) See,

e.g., Wate v. Kubler, 839 F.3d 1012, 1018 (11th Cir. 2016) (holding that

officers acted within discretionary authority when arresting suspect).

Plaintiff, thus, has the burden of showing that qualified immunity is

unavailable to Defendant.

      The qualified immunity analysis presents two questions: first,

whether the allegations taken as true establish the violation of a

constitutional right; and second, if so, whether the constitutional right

was clearly established when the violation occurred. Hadley v. Gutierrez,

526 F.3d 1324, 1329 (11th Cir. 2008). These distinct questions “do not

have to be analyzed sequentially; if the law was not clearly established,

[the court] need not decide if the [d]efendants actually violated the

[plaintiff’s] rights, although [the court is] permitted to do so.” Fils v. City

of Aventura, 647 F.3d 1272, 1287 (11th Cir. 2011).

      A constitutional right is only clearly established for qualified

immunity purposes if “every reasonable official would have understood



                                      12
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 13 of 37




that what he is doing violates that right.” Reichle v. Howards, 566 U.S.

658, 664 (2012) (internal quotation marks omitted) (alteration adopted).

Put differently, “existing precedent must have placed the statutory or

constitutional question beyond debate” to give the official fair warning

that his conduct violated the law. Id.; Coffin v. Brandau, 642 F.3d 999,

1013 (11th Cir. 2011) (en banc) (“The critical inquiry is whether the law

provided [defendant officers] with ‘fair warning’ that their conduct

violated the Fourth Amendment.”). The Supreme Court has explained

that the question is “whether it would be clear to a reasonable officer that

the conduct was unlawful in the situation he confronted.” See Saucier v.

Katz, 533 U.S. 194, 194–95 (2001). “If the law did not put the officer on

notice that his conduct would be clearly unlawful, summary judgment

based on qualified immunity is appropriate.” Id. at 202.

     A plaintiff typically shows that a defendant’s conduct violated

clearly established law by pointing to “materially similar precedent from

the Supreme Court, [the Eleventh Circuit], or the highest state court in

which the case arose.” Gates, 884 F.3d at 1296. While the facts of the

case need not be identical, “the unlawfulness of the conduct must be

apparent from pre-existing law.” Coffin, 642 F.3d at 1013.



                                    13
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 14 of 37




     In White v. Pauly, the Supreme Court reiterated “the longstanding

principle that ‘clearly established law’ should not be defined ‘at a high

level of generality.’ ” 137 S. Ct. 548, 552 (2017) (quoting al-Kidd, 563

U.S. at 742). The Supreme Court held that to defeat a claim of qualified

immunity, a plaintiff must “identify a case where an officer acting under

similar circumstances as [the defendant] was held to have violated the

Fourth Amendment.”      Id.   “[G]eneral statements of the law are not

inherently incapable of giving fair and clear warning to officers.” Id.

(internal quotation marks omitted). Instead, “the clearly established law

must be ‘particularized’ to the facts of the case.” Id. The Supreme Court

has also explained that avoiding qualified immunity does “not require a

case directly on point, but existing precedent must have placed the

statutory or constitutional question beyond debate.” Mullenix v. Luna,

136 S. Ct. 305, 308 (2015).

     Fair warning can also arise from two other sources.                First,

“[a]uthoritative judicial decisions may ‘establish broad principles of law’

that are clearly applicable to the conduct at issue.” Gates, 884 F.3d at

1296 (quoting Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1209 (11th Cir.

2007)).   Second, “it may be obvious from ‘explicit statutory or



                                    14
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 15 of 37




constitutional statements’ that conduct is unconstitutional.” Id. (citing

Griffin Indus., 496 F.3d at 1208–09). Regardless of the method, the

preexisting law must “make it obvious that the defendant’s acts violated

the plaintiff’s rights in the specific set of circumstances at issue.”

Youmans v. Gagnon, 626 F.3d 557, 563 (11th Cir. 2010). In this way,

qualified immunity does what it should: it “gives government officials

breathing room to make reasonable but mistaken judgments by

protecting all but the plainly incompetent or those who knowingly violate

the law.” City & Cty. of San Francisco v. Sheehan, 135 S. Ct. 1765, 1774

(2015) (internal quotation marks omitted) (alterations adopted).

     “The burden thus lies with Plaintiff to show that his arrest violated

a constitutional right and that the right was clearly established at the

time of the arrest.” Gates, 884 F.3d at 1297. The Court finds Plaintiff

cannot satisfy either prong of this analysis.

           1.    Constitutional Violation

     In his Section 1983 claims, Plaintiff alleges Defendant arrested him

without probable cause in violation of his Fourth Amendment rights and

while engaging in activity protected by the First Amendment. To be sure,

a “warrantless arrest without probable cause violates the Fourth



                                    15
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 16 of 37




Amendment and forms a basis for a section 1983 claim.”           Ortega v.

Christian, 85 F.3d 1521, 1525 (11th Cir. 1996). Likewise, such an arrest

could give rise to a claim under the First Amendment. On the other hand,

the existence of probable cause is an absolute bar to a claim of unlawful

arrest under either the Fourth or First Amendment. See Wood v. Kesler,

323 F.3d 872, 878 (11th Cir. 2003) (“An arrest does not violate the Fourth

Amendment if a police officer has probable cause for the arrest.”); Dahl

v. Holley, 312 F.3d 1228, 1236 (11th Cir. 1998) (“Whatever the officers’

motivation, however, the existence of probable cause to arrest [the

plaintiff] defeats her First Amendment claim.”), abrogated by Lozman v.

City of Riviera Beach, 138 S. Ct. 1945 (2018).

     An officer has probable cause to arrest “if the facts and

circumstances within the officer’s knowledge, of which he has reasonably

trustworthy information, would cause a prudent person to believe, under

the circumstances shown, that the suspect has committed, is committing,

or is about to commit an offense.” Carter v. Butts Cty., 821 F.3d 1310,

1319 (11th Cir. 2016); see also Boyd v. State, 658 S.E.2d 782, 784 (Ga. Ct.

App. 2008) (internal quotation marks omitted) (alterations adopted)

(finding probable cause “if, considering the totality of the circumstances,



                                    16
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 17 of 37




at the time of arrest he had a reasonable belief that the defendant had

committed a crime in his presence or within his knowledge”).

Importantly, the test for qualified immunity is not whether the officer

actually had probable cause to support the arrest. The test is whether

arguable probable cause exists. In other words, “[e]ven without actual

probable cause . . . a police officer is entitled to qualified immunity if he

had only ‘arguable’ probable cause to arrest the plaintiff.” Gates, 884

F.3d at 1298.

     Arguable probable cause exists “where reasonable officers in the

same circumstances and possessing the same knowledge as the

[defendant] could have believed that probable cause existed to arrest.”

Id. (citing Redd v. City of Enterprise, 140 F.3d 1378, 1383–84 (11th Cir.

1998)). Arguable probable cause provides protection from both Fourth

Amendment claims for false arrest and First Amendment claims

stemming from an arrest. Id. at 1298; see also Wilkerson v. Seymour, 736

F.3d 974, 979 (11th Cir. 2013) (“[A]n arrest may be for a different crime

from the one for which probable cause actually exists, . . . but arguable

probable cause to arrest for some offense must exist in order for officers

to assert qualified immunity from suit.” (citations omitted)).



                                     17
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 18 of 37




     Based on the undisputed material facts, the Court finds that, in the

light of the totality of circumstances, Defendant had a reasonable belief

that, at the time of the arrest, Plaintiff was or was about to obstruct the

work of the officers arresting those involved in the fight. Alternatively,

even if Defendant did not have probable cause to arrest Plaintiff, she at

least had arguable probable cause — that is, the Court finds that a

reasonable officer in Defendant’s position could have believed she had

probable cause to arrest Plaintiff for disorderly conduct and obstruction.

     An individual commits that crime when he or she “[i]nterfere[s], by

acts of physical obstruction, another’s pursuit of a lawful occupation.”

Atlanta City Ordinance § 106-81(7). The ordinance applies to include

obstruction and interference, for instance, with a police officer

attempting to effectuate an arrest, as in this case.

     The undisputed evidence shows that Major Whitmire gave several

orders over the bullhorn for the protesters to disperse, that Defendant

was in a position to hear the instruction since he was “on the very same

block,” and that other protestors heeded the orders. (Dkt. 124-7 at 30:16–

25; 31:8–12; 31:22–32:4; 38:9–14.) She testified that she saw Plaintiff

ignore Major Whitmire’s direction by approaching her and the area



                                    18
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 19 of 37




around the officers making the arrest. (Dkt. 124-7 at 30:10–15.) She did

not know what his intentions were, that is, whether he intended to

interfere with the arrest or cause trouble. (Id. at 33:12–14.) But, she

knew he had disobeyed Whitmire’s instructions and feared he might be a

threat to the arresting officers. (Id. at 31:22–32:3.) She arrested him for

failing to follow those orders. (Id. at 34:8.)

      It is undisputed that Plaintiff did not comply. To the contrary, he

moved from one place on the sidewalk, into the street, and then back up

onto the sidewalk.      He re-entered the sidewalk, where Defendant

provided back up support to the officers making arrests. In doing so,

Plaintiff walked between Major Whitmire and Defendant McKenzie —

that is, directly into the area Major Whitmire had ordered the crowd to

evacuate and the area in which Defendant was trying to keep clear to

protect the other officers. The drone footage establishes his movement

beyond any doubt.        From these circumstances and based on the

information available to Defendant at the time, it was reasonable for her

to infer that Plaintiff was defying Major Whitmire’s blaring order to back

away from the arresting officers and clear the area.




                                     19
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 20 of 37




     Plaintiff argues that he does not recall hearing Major Whitmire’s

instructions and thus is not at fault for failing to obey. (Dkt. 130 at 24.)

He also claims police never gave him an individualized warning not to

enter the area.     (Id.)      Finally, he claims summary judgment is

inappropriate because the “safety zone” he allegedly entered was not

“sufficiently clear for a citizen to know what area to avoid.” (Dkt. 130 at

18–20.) His explanations are irrelevant. See Gates, 884 F.3d at 1302 (“It

is not Plaintiff’s post-hoc explanation of his actions that counts.”). The

qualified immunity analysis focuses on what Defendant knew at the time

and “what a reasonable police officer under the circumstances could infer

from [plaintiff’s] actions.”    Id.   Plaintiff’s recollection of a warning,

whether officers warned him individually, and his understanding of the

area he could not enter are not the relevant facts.

     When she arrested Plaintiff, Defendant knew there was a “melee of

people fighting.” (Dkt. 124-7 at 38:18.) She knew Major Whitmire had

ordered people to leave the area. (Id. at 31:22.) She knew there were

other officers making arrests.        (Id. at 30:7–8.)   She knew, in these

situations, people sometime attacked officers from the rear. (Dkt. 124-6

at 47:2–8.) She took a position to protect them. (Dkt. 124-7 at 31:4.) She



                                       20
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 21 of 37




knew Plaintiff walked into that area, against Major Whitmire’s orders.

(Id. at 42:21–22.) Finally, she knew Major Whitmire had instructed her

to arrest Plaintiff by pointing him out. (Id. at 44:24.) A reasonable

person in Defendant’s position could have believed Plaintiff intentionally

disobeyed police instructions and was a threat to the officers making the

arrests. As a result, a reasonable officer could have concluded there was

probable cause to arrest Plaintiff for disorderly conduct and obstruction.8

     The Eleventh Circuit recently addressed a similar issue in another

false arrest case arising from the same protests in Atlanta. Gates v.

Khokhar, 884 F.3d 1290 (11th Cir. 2018). Gates involved the arrest of

protestors wearing Guy Fawkes masks styled after a character in a

popular movie. Id. at 1295. Georgia has a so-called “mask statute” that

makes it a crime to wear a mask concealing one’s identity in a public area.

Id. (citing GA. CODE ANN. § 16-11-38). To establish a violation of this



8 That the City later dropped all charges against Plaintiff is also
irrelevant. The City’s later decision does not prevent a finding of
probable cause at the time of the arrest. Indeed, Plaintiff claims the City
made the decision “only after political pressure on the Mayor’s office.”
(Dkt. 124-2 at 172:23–24.) The Court analyzes qualified immunity from
the view of the reasonable officer at the time of the arrest, not the
charging decision of a prosecuting lawyer at a later time.



                                    21
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 22 of 37




statute, the government must show that the wearer of the mask knows

or reasonably should know that his or her actions cause reasonable

apprehension of intimidation, threats, or violence. Id.

     On the night of the protest, Major James Whitmire instructed

protestors to remove their masks and warned that police would arrest

anyone who failed to do so. Id. The masked plaintiff in Gates did not

comply, and police arrested him. Id. He sued several police officers

claiming they were without probable cause to arrest him and alleging

violations of his Fourth and First Amendment rights. Id. As the basis

for his claim, the plaintiff alleged he never heard Major Whitmire tell

people to remove their masks and therefore did not intentionally violate

the order. Id. He also alleged that he never intended to threaten or

intimidate anyone. Id.

     The trial court denied qualified immunity, finding that — given the

plaintiff’s undisputed evidence that he never intended to intimidate

anyone — the police lacked even arguable probable cause to arrest him

for violating the mask statute.     Id.   The Eleventh Circuit reversed,

finding the district court erred in assessing the facts from the plaintiff’s

subjective intent — that he never intended to intimidate anyone by



                                    22
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 23 of 37




donning the mask. Id. at 1301–02 (“Ergo, the court concluded, arguable

probable cause evaporated. This approach was error.”). The panel also

rejected as irrelevant the plaintiff’s claim that he did not hear the order

instructing him to remove his mask. Id. at 1301. In doing so, the court

again reiterated the often-repeated rule: “for purposes of qualified

immunity analysis [a court looks] only to whether a reasonable officer,

knowing what defendants knew at the time, objectively could have

believed probable cause existed.” Id. (internal quotations omitted). The

court went on to explain that a reasonable officer could infer an

individual’s intention to violate Georgia law from his apparent decision

to disobey Major Whitmire’s instructions. Id. at 1302.

     The same is true here. It may be that Plaintiff did not hear the

instructions and did not know he was prohibited from approaching the

area where officers were making arrests. But he did disobey the order.

And he did enter the restricted area. As a result, a reasonable officer at

the scene could have determined he intended to violate the City’s

obstruction ordinance. Defendant had probable cause to believe that

Plaintiff — as he moved toward her and thus directly toward the




                                    23
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 24 of 37




arresting officers behind her — was about to commit an offense by

interfering with those officers.

      There seems to be some disagreement about whether Major

Whitmire first ordered Plaintiff’s arrest and Defendant then followed his

direct order, or whether Defendant began to arrest Plaintiff before

Whitmire’s order. In any event, the precise sequence of when exactly

Major Whitmire issued the order is immaterial to the Court’s

determination of whether Defendant is entitled to summary judgment.

With or without a direct order from her superior officer, Defendant had

probable cause, or at least arguable probable cause, to arrest Plaintiff

under these facts. The Court, however, concludes that based on the

evidence before it and the information available to her at the time,

Defendant reasonably believed that Major Whitmire had directed her to

arrest Plaintiff when he gestured to Plaintiff and tapped him on the

shoulder. Major Whitmire’s provision of the specific instruction further

supports the Court’s finding that Defendant had probable cause to arrest

Plaintiff.

      Plaintiff asserts that he “states a triable claim for retaliatory

arrest” — specifically that Defendant arrested him for exercising his



                                    24
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 25 of 37




First Amendment right to film the police. (Dkt. 130 at 8.) First, Plaintiff

filed no claim for retaliatory arrest. He alleged that he was arrested

while filming and that the arrest prevented him from continuing to film

the police, not that the police arrested him because he was filming. (Dkt.

32 at ¶¶ 92–94.)

      Second, even if he had brought a retaliation claim, Defendant would

still be entitled to qualified immunity. The Eleventh Circuit has held

that, when an officer has probable cause or arguable probable cause to

arrest an individual who is engaged in First Amendment activity, the

officer is entitled to qualified immunity from suit for alleged First

Amendment violations.      Redd, 140 F.3d at 1383.      Probable cause to

arrest, whether actual or arguable, shields the arresting officer from

First Amendment liability just as it does Fourth Amendment liability.

Id.

      There is one narrow exception. In Lozman v. City of Riviera Beach,

the Supreme Court held that a First Amendment claim for retaliatory

arrest might survive probable cause to arrest, if the plaintiff bases his

claim not on an alleged retaliatory action by a specific officer, but on a

claim of “an official municipal policy of intimidation.” 138 S. Ct. 1945,



                                    25
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 26 of 37




1948 (2018) (internal quotation marks omitted). An aggrieved party

typically brings such a claim against the municipality, not the arresting

officer. See id. Plaintiff certainly has not pleaded this narrow exception.

He sued Defendant for her actions on the night of the protest, not the

City of Atlanta for some grander plan to retaliate against him.

     Third, even if Plaintiff had asserted such a claim, Defendant would

still be entitled to summary judgment.       While Plaintiff asserts his

subjective belief that Defendant tried to keep him from taking

photographs of the scene and (now) argues she arrested him for doing so,

the record contains no evidence to support this claim.          Defendant

explained that she stopped Plaintiff because he was trying to enter the

restricted area in disobedience of Major Whitmire’s order. (Dkt. 124-7 at

42:21–22.) She asserts that the time between when she first saw Plaintiff

and when she arrested him was less than a second. (Id. at 44:4–6.) Her

recollection is further supported by the drone footage. Defendant also

denies waving her hand in front of Plaintiff’s camera to purposefully

disrupt him from taking a video or photo. (Id. at 78:17.)

     Plaintiff has not presented any evidence to raise a material dispute

in support of a retaliation claim. The undisputed evidence shows that



                                    26
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 27 of 37




Defendant arrested Plaintiff within mere “seconds” of the time he arrived

on the scene.9 Plaintiff concedes that he saw no officers observing him as

he took photographs of the scene and that none of the photographs he

took involve a police officer making an arrest. (Dkt. 124-2 at 207:19–23;

207:24–208:1.) He admits he did not see Defendant watching him take

photos before he stepped in front of her, Defendant never told him to stop

taking photos, and police later returned his camera phone in proper

working condition.    (Id. at 160:4–7; 160:8–11; 208:8–10.)      The video

footage and other evidence proves also that dozens of other people were

taking photos of the commotion and police activity, with no police

interference. And Plaintiff acknowledges that no one stopped him or

anyone else from taking photographs that night. (Id. at 50:24–51:1;

63:15–24; 80:20–22.) Even viewing all facts in Plaintiff’s favor, the record

plainly contradicts his subjective beliefs and conclusory allegations. See




9 Dkt. 124-2 at 206:19–207:3 (“Q. In the one second that you were still on
the sidewalk, you were able to, according to your statement, maintain an
angle for the photograph, observe someone waving their hand in front of
your camera, refocus your camera, attempt to pivot in order to regain the
sight – the sight of the image you were attempting to photograph, and
witness . . . Sergeant McKenzie leap in front of you. Is that accurate? A.
Yes.”).


                                    27
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 28 of 37




Gates, 884 F.3d at 1302 (“It is not Plaintiff’s post-hoc explanation of his

actions that counts.”).

      “When opposing parties tell two different stories, one of which is

blatantly contradicted by the record, so that no reasonable jury could

believe it, a court should not adopt that version of the facts for purposes

of ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S.

372, 380 (2007). The video drone footage here “completely and clearly

contradicts” Plaintiff’s testimony that Defendant arrested Plaintiff

because he was recording the protests with his phone. See Morton v.

Kirkwood, 707 F.3d 1276, 1284 (11th Cir. 2013) (noting that “where an

accurate video recording completely and clearly contradicts a party’s

testimony, that testimony becomes incredible”).

      And while a court must draw reasonable inferences in the

nonmovant’s favor, the Court cannot reasonably infer, based on the

evidence before it, that a causal connection exists between Plaintiff’s

First Amendment activity and his arrest. There is no material dispute of

fact here.     Plaintiff’s beliefs and conjectures about Defendant’s

motivations are not facts. The Court thus concludes that no reasonable

jury could find for Plaintiff on this point.



                                     28
        Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 29 of 37




        Plaintiff has failed to carry his burden of establishing the first

prong of the qualified immunity analysis — that Defendant McKenzie

violated his Fourth or First Amendment rights.

             2.    Clearly Established Law

        Plaintiff also fails to meet his burden to show that the right was

clearly established at the time of the arrest — as of November 25, 2014.

The core question on this prong of the qualified immunity analysis is

“whether it was already clearly established, as a matter of law, that at

the time of Plaintiff’s arrest, an objective officer could not have concluded

reasonably that probable cause existed to arrest Plaintiff under the

particular circumstances Defendant[ ] confronted.” Gates, 884 F.3d at

1303.

        Plaintiff claims he had a clearly established right to photograph on

Atlanta’s public streets. (Dkt. 130 at 3.) That general right is irrelevant

to the fact-specific analysis required for qualified immunity. Instead,

Plaintiff has the burden of identifying some legal precedent precluding

Defendant McKenzie’s conduct under these circumstances. He cites no

“materially similar precedent” existing at the time from the Supreme

Court, this Circuit, or the Georgia Supreme Court that would have put



                                      29
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 30 of 37




every reasonable officer on notice that it was unlawful to arrest Plaintiff

for disregarding Major Whitmire’s instructions and walking into the area

police were trying to secure. The Court has also found no such case.

     None of the cases Plaintiff cites deal with Atlanta City Ordinance

§ 106-81(7), the municipal ordinance APD charged Plaintiff with

violating. None of the cases concern individuals arrested during large

public demonstrations.     Plaintiff’s citation to out-of-circuit cases is

unavailing in showing that the law at the time was clearly established

and in fact highlights the lack of binding, clearly established law. (Dkt.

130 at 6 (citing cases from the First, Seventh, and Ninth Circuits).)

Plaintiff has failed to carry his burden on this second prong of the

qualified immunity inquiry, and “that is not surprising, given [the]

conclusion that, at the very least, Defendant[ ] arguably had probable

cause to arrest.” Gates, 884 F.3d at 1303–04.

     Plaintiff cites Bowens v. Superintendent of Miami South Beach

Police Department. 557 F. App’x 857 (11th Cir. 2014). That case — which

went to the Eleventh Circuit on a motion to dismiss, not summary

judgment — concerned allegations by the plaintiff that while he was

photographing an arrest from two blocks away, police approached him,



                                    30
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 31 of 37




covered their badges, demanded to see him camera, and then when he

refused, forcibly seized the camera, arrested him with guns drawn, and

erased the images he had taken. Id. at 859. None of the facts in Bowens

are similar to those in Plaintiff’s case. It is undisputed that Defendant

did not cover her badge to hide her identity, demand to see Plaintiff’s

camera phone, draw her weapon, or erase any of the images from his

phone, which Plaintiff acknowledges was returned to him unaltered and

in proper working condition. Bowens is thus inapposite.

     Plaintiff also cites several other cases — including Smith v. City of

Cumming and WSB-TV v. Lee — that stand for the proposition that

individuals enjoy a First Amendment right to videotape police activities.

(Dkt. 130 at 5–7.) As the Court mentioned above, however, that right is

not in dispute here. What matters is the material similarity between the

facts of Plaintiff’s own case and the cases he cites. None of the cases are

similar, beyond defining the First Amendment right at a high level of

generality, which is not at issue here. Plaintiff has thus failed to carry

his burden of establishing the second prong of the qualified immunity

analysis — that on the day of his arrest, Defendant McKenzie violated

clearly established law.



                                    31
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 32 of 37




     B.    State Law Claims & Official Immunity

     Defendant also claims she is entitled to summary judgment on the

ground of official immunity for Plaintiff’s remaining state-law claims —

false imprisonment, assault and battery, and malicious prosecution.

(Dkt. 122 at 19–20.)

     Under Georgia law, government officials “are entitled to official

immunity from suit and liability unless they ‘. . . act with actual malice

or an intent to injure when performing a discretionary act.’ ” Speight v.

Griggs, 579 F. App’x 757, 759 (11th Cir. 2014) (citing Roper v. Greenway,

751 S.E.2d 351, 352 (Ga. 2013) and GA. CONST. art. I, § II, par. IX(d)).

Again, the parties agree that Defendant performed a discretionary act

when arresting Plaintiff. (Dkts. 122 at 11; 130 at 5 n.3.) The only

question, then, is whether Defendant acted with actual malice or actual

intent to injure.

     The Supreme Court of Georgia has defined actual malice in the

context of official immunity to mean a “deliberate intention to do a

wrongful act” or “an actual intent to cause injury.” Adams v. Hazelwood,

520 S.E.2d 896, 898 (Ga. 1999). Similarly, actual intent to injure requires




                                    32
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 33 of 37




“actual intent to cause harm to the plaintiff,” not merely the intent to do

an act that causes harm. Gates, 884 F.3d at 1304.

      The record contains no evidence Defendant acted with actual malice

or an actual intent to injure Plaintiff as Georgia law defines those terms.

Though Plaintiff alleges that Defendant’s actions were “malicious,

reckless, and callously indifferent” to Plaintiff’s rights, he cites no record

evidence to support this allegation. (Dkt. 130 at 32.) The undisputed

evidence shows that Defendant simply arrested him.              No evidence

suggests she hurt him, mistreated him, or abused him in any way.

Indeed, Plaintiff does not even argue that she did. He only cursorily

addresses this claim in response to Defendant’s motion for summary

judgment. (Id.) He simply refers to the Court’s previous order denying

defendants’ motions to dismiss, where the Court stated there was “a

reasonable inference that at least some of the Defendant officers acted

with actual malice.” (Dkt. 40 at 34.) The Court, however, made that

statement based on the allegations in Plaintiff’s complaint, not the

evidence presented at summary judgment.              The Court based its

conclusion on Plaintiff’s allegation — accepted as true for purposes of the




                                     33
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 34 of 37




motion to dismiss — that the officers arrested Plaintiff without probable

cause.10

     As explained above, however, the undisputed evidence available at

summary judgment shows Defendant had probable cause or at least

arguable probable cause to arrest — a fundamentally different factual

predicate than existed at the motion to dismiss stage. Based on the

evidence in the record, no reasonable jury could find that Defendant acted

with actual malice or an intent to injure, as defined under Georgia law.

Drawing all reasonable inferences in Plaintiff’s favor, the evidence shows

that Defendant arrested Plaintiff because she believed he had

intentionally disobeyed Major Whitmire’s order and posed a potential

risk to the arresting officers. Plaintiff’s own testimony provides the best

evidence of how she treated him. He claims she grabbed his left wrist or

forearm with “some force” and “ordered [him] to get on the ground, so [he]

laid down on the sidewalk.” (Dkt. 124-2 at 130:21–131:3; 151:7; 152:7–




10The Court also did not direct that particular finding at Defendant
McKenzie. (Dkt. 40 at 34.) The Court cited Plaintiff’s allegations of
conduct by other officers, including Plaintiff’s claim another officer
admitted to him that he had been arrested on a “bullshit charge” but
would not let him go. (Id.)


                                    34
      Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 35 of 37




8.) Yet none of these facts, either individually or collectively, support a

plausible finding of actual malice under Georgia law.         Cf. Selvy v.

Morrison, 665 S.E.2d 401, 405 (Ga. Ct. App. 2008) (finding absence of

actual malice when defendant police officer grabbed and twisted

plaintiff’s arm behind her back, slammed her face into the wall, kicked

her legs out from under her, and directed profane language at her during

arrest).   Official immunity under Georgia law provides expansive

protection for police officers acting in good faith. Reed v. DeKalb Cty.,

589 S.E.2d 584, 587 (Ga. App. 2003) (“Even when an arresting officer

operates on a mistaken belief that an arrest is appropriate, official

immunity still applies.”).

      At most, “Plaintiff was arrested and subjected to the routine

inconveniences that attend any arrest.         These facts are obviously

insufficient to show actual malice or intent to injure.” Gates, 884 F.3d at

1305. Defendant is entitled to judgment as a matter of law on Plaintiff’s

state-law claims under Georgia official immunity.

IV.   Conclusion

      In addressing the obligations of police officers facing protestors and

chaotic circumstances, the Supreme Court stated:



                                    35
     Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 36 of 37




     Like prison officials facing a riot, the police on an occasion
     calling for fast action have obligations that tend to tug against
     each other. Their duty is to restore and maintain lawful order,
     while not exacerbating disorder more than necessary to do
     their jobs. They are supposed to act decisively and to show
     restraint at the same moment, and their decisions have to be
     made “in haste, under pressure, and frequently without the
     luxury of a second chance.”

Cty. of Sacramento v. Lewis, 523 U.S. 833, 853 (1998) (citation omitted).

The law does not second-guess the split-second decisions of police officers

in the field. See Long v. Slaton, 508 F.3d 576, 580 (11th Cir. 2007).

Immunity — when properly applied — mitigates “the danger that fear of

being sued will dampen the ardor of all but the most resolute, or the most

irresponsible [public officials], in the unflinching discharge of their

duties.”   Harlow v. Fitzgerald, 457 U.S. 800, 814 (1982) (internal

quotation marks omitted). Defendant McKenzie is entitled to immunity

for her actions.11   The Court GRANTS her Motion for Summary

Judgment (Dkt. 122) and DIRECTS the Clerk to close this case.




11The Court is in receipt of Plaintiff’s Notice of Supplemental Authority
(Dkt. 140). Plaintiff did not request leave to file any supplemental
briefing and his filing is therefore untimely and improper. The Court,
however, has considered the two cases that Plaintiff cites and concludes
that neither affects the Court’s decision to grant summary judgment.


                                    36
Case 1:15-cv-03296-MLB Document 141 Filed 03/28/19 Page 37 of 37




SO ORDERED this 28th day of March, 2019.




                              37
